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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

COLON TAYLOR,                                   §
                                                §
       Plaintiff,                               §
                                                §
vs.                                             §    CIVIL ACTION NO.
                                                §
ALLSTATE VEHICLE AND PROPERTY                   §              (JURY)
INSURANCE COMPANY                               §
                                                §
       Defendant.                               §

                                NOTICE OF REMOVAL
                             AND DEMAND FOR JURY TRIAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       COMES NOW Allstate Vehicle and Property Insurance Company and files its Notice of

Removal pursuant to 28 U.S.C. §1446(a), as well as its formal Demand for Jury Trial, and in

support thereof would show the Court as follows:

1.     On August 25, 2017, Plaintiff Colon Taylor filed his Plaintiff’s Original Petition in the

matter styled Colon Taylor v. Allstate Indemnity Company, Cause No. DC-17-10139, pending in

the 17th District Court of Tarrant County, Texas in which Plaintiff made a claim for damages to

his home under a homeowner’s insurance policy issued by Allstate Vehicle and Property

Insurance Company.

2.     Plaintiff served Vehicle and Property Insurance Company with a copy of the Petition by

certified mail, return receipt requested on August 31, 2017.

3.     Defendant files this Notice of Removal within 30 days of receiving Plaintiff’s Original

Petition. See 28 U.S.C. §1446(b). This Notice of Removal is being filed within one year of the

commencement of this action.




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4.      All pleadings, process, orders, and other filings in the state court action are attached to

this Notice as required by 28 U.S.C. §1446(a) and are attached hereto as Exhibit “A.” A copy of

this Notice is also concurrently being filed with the state court and served upon the Plaintiff.

5.      Venue is proper in this Court under 28 U.S.C. §1441(a) because this district and division

embrace Johnson County, Texas, the place where the removed action has been pending.

                                                  II.

                                       BASIS FOR REMOVAL

6.      Removal is proper based on diversity of citizenship under 28 U.S.C. §§ 1332(a), 1441(a)

and 1446.

7.      Plaintiff is, and was at the time the lawsuit was filed, a citizen and resident of the State of

Texas and owns the property in question which is located in Tarrant County, Texas (Petition,

para. 1).

8.      Defendant Vehicle and Property Insurance Company is an Illinois corporation with its

principal place of business in Illinois and is a citizen of the State of Illinois for diversity

purposes, and therefore, complete diversity exists.

A.      The Amount in Controversy Exceeds the Jurisdictional Requirements for Subject

Matter Jurisdiction

9.      This is a civil action in which the amount in controversy exceeds $75,000.00. Plaintiff

alleges that Defendant is liable under a homeowners’ insurance policy because Plaintiff made a

claim under that policy as a result of a storm and Defendant wrongfully adjusted and denied that

claim. Specifically, Plaintiff alleges damages to the property of over $100,000, but not more

than $200,000. (Petition, para. 4).




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10.       In addition, the Plaintiff’s Original Petition alleges that Defendant is liable under the

Insurance Code and is seeking exemplary damages, interest and attorneys’ fees. (Petition, para.

15-26).

                                                   III.

                            THE REMOVAL IS PROCEDURALLY CORRECT

11.       Defendant     was     served      with     the   Plaintiff’s     Original   Petition    on

August 31, 2017. Defendant filed this Notice within the 30 day time period required by 28

U.S.C. §1446(b).

12.       Under 28 U.S.C. § 1441(a), the removed action is proper in this Court as the district and

division embracing the place where the state court action is pending.

13.       As required by 28 U.S.C. §1446(a) and Rule 81.1 of the Local Rules, all pleadings,

process, orders, and all other filings in the state court action previously filed are attached hereto

as Exhibit “A.”

14.       Pursuant to 28 U.S.C. §1446(d), promptly after Defendant files this Notice, written notice

of the filing will be given to Plaintiff.

15.       Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal will be

filed with the Clerk of the Tarrant County District Court, promptly after Defendant files this

Notice.

16.       Defendant hereby demands a trial by jury.

                                                   IV.

                                             CONCLUSION

          Based on the foregoing, the exhibits submitted in support of this Removal and other

documents filed contemporaneously with this Notice of Removal and fully incorporated herein




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by reference, Defendant Vehicle and Property Insurance Company hereby removes this case to

this court for trial and determination.

                                             Respectfully submitted,

                                             STACY | CONDER | ALLEN LLP


                                                     /s/David G. Allen
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                                             ATTORNEYS FOR DEFENDANT
                                             ALLSTATE INDEMNITY COMPANY


                                 CERTIFICATE OF SERVICE

       On September 22, 2017 I electronically submitted the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel of record electronically or by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                  /s/ David G. Allen
                                             David G. Allen




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